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                               EXHIBIT 4
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  NOT FDIC INSURED I NO BANK,STATE OR FEDERAL. GUARANTEE I MAY LOSE VALUE




     Program manager I Ascensus Broker Dealer Services, LLC
     Investment manager I J.P. Morgan Investment Management Inc.




     August 2018




                                                    New York's 529 Advisor-Guided
                                                    College Savings Program
                                                    Advisor-Guided Plan DiscloSure Booklet
                                                    and Tuition Savings Agreement




   New York's 529

  AdViS01 7(.1:V.I.        wed.                       gascensus-                             JP Morgan
            College Savings Program                                                          Asset Management
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   NOTICES                                                                Investments Are Not Guaranteed or Insured
   Please Retain This Disclosure Booklet                                  None of the United States, the State of New York, the
                                                                          Comptroller, HESC, any agency or instrumentality of the federal
   This Disclosure Booklet, including the Tuition Savings Agreement
                                                                          government or of the State of New York, any fund established by
   and any other appendices, as well as any supplements sent to
                                                                          the State of New York or through operation of New York law for
   you, contains important information about New York's 529
                                                                          the benefit of insurance contracts or policies generally, Ascensus
   Advisor-Guided College Savings Program (Advisor-Guided Plan),
                                                                          or any of its affiliates, JPMorgan or any of their affiliates, State
   which was created under the Program. The information in this
                                                                          Street Bank and Trust Company (SSBT), SSGA Funds
   Disclosure Booklet includes information concerning certain risks
                                                                          Management, Inc.(SSGA FM), State Street Global Advisors, a
   associated with, and the terms under which you agree to
                                                                          division of SSBT, and any of their affiliates, any agent,
   participate in, the Advisor-Guided Plan. You should read this
                                                                          representative or subcontractor retained in connection with the
   Disclosure Booklet thoroughly in its entirety and retain it for your
                                                                          Program, or any other person, makes any guarantee of, insures
   future reference, The information contained in this Disclosure
                                                                          or has any legal or moral obligation to insure, either the ultimate
   Booklet is authorized by the Office of the Comptroller of the State
                                                                          payout of all or any portion of the amount contributed to an
   of New York (the Comptroller) and the New York State Higher
                                                                          Account or any investment return, or an investment return at any
   Education Services Corporation (HESC, together with the
                                                                          particular level, on an Account. You should periodically assess
   Comptroller, the Program Administrators). You should not rely on
                                                                          and, if appropriate, adjust your investment choices with your time
   information other than what is contained in this Disclosure Booklet
                                                                          horizon, risk tolerance and investment objectives in mind.
   as having been authorized by the Program Administrators.
                                                                          Investing is an important decision. Please read this Disclosure
   The Program currently includes two separate 529 plans, the             Booklet in its entirety before making an investment decision.
   Advisor-Guided Plan and the Direct Plan. The Advisor-Guided
                                                                          The value of your account will depend on market conditions and
   Plan is described in this Disclosure Booklet, is sold exclusively
                                                                          the performance of the investment options you select.
   through financial advisory firms that have entered into selling
                                                                          Investments in the Advisor-Guided Plan can go up or down in
   agreements with JPMDS and offers investment options that are
                                                                          value and you could lose money by investing in the Advisor-
   not available under the Direct Plan. However, the fees and
                                                                          Guided Plan.
   expenses of the Direct Plan, which is sold directly by the Program
   and is not described in this Disclosure Booklet, are lower and do
                                                                          Non-New York Taxpayers
   not include compensation to financial advisory firms. Be sure that
   you understand the options available to you before making an           If you are not a New York taxpayer, consider before investing
   investment decision.                                                   whether your or your beneficiary's home state offers a 529 Plan
                                                                          that provides its taxpayers with favorable state tax or other state
   529 Plans are intended to be used only to save for certain             benefits such as financial aid, scholarship funds, and protection
   education-related expenses. These programs are not intended to         from creditors that may only be available through investment in
   be used, nor should they be used, by any taxpayer for the              the home state's 529 Plan, and which are not available through
   purpose of evading federal or state taxes or tax penalties.            investment in the Advisor-Guided Plan. Since different states
   You should periodically assess, and if appropriate, adjust your        have different tax provisions, this Disclosure Booklet contains
   investment choices with your time horizon, risk tolerance and          limited information about the state tax consequences of investing
   investment objectives in mind. You may wish to seek tax advice         in the Advisor-Guided Plan. Therefore, please consult your
   from an independent tax advisor based on your own particular           financial, tax, or other advisor to learn more about how state-
   circumstances.                                                         based benefits (or any limitations) would apply to your specific
                                                                          circumstances, You also may wish to contact your home state's
   This Disclosure Booklet Supersedes Any Prior                           529 Plan(s), or any other 529 Plan, to learn more about those
   Disclosure Booklets or Program Brochures                               plans' features, benefits and limitations. Keep in mind that state-
                                                                          based benefits should be one of many appropriately weighted
   This Disclosure Booklet is effective as of the date set forth on the
                                                                          factors to be considered when making an investment decision.
   cover and supersedeS all previously'distributed Program
   Brochures or Disclosure Booklets for the Advisor-Guided Plan and
   any supplements thereto. You should not rely upon any previously
   distributed Program Brochure or supplement dated prior to the
   date of this Disclosure Booklet. Information contained in this
   Disclosure Booklet is believed by the Program Administrators to
   be accurate as of its date, but is not guaranteed by the Program
   Administrators and is subject to change without notice.
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 Summary                                                                              Beneficiary
 This Section highlights certain key features of the Advisor-Guided Plan.             • Can be any age, must have a valid Social Security number, and does not
 Capitalized terms used in this Summary without definitions are defined in the          need to be related to the Account Owner.
 Section 7 Glossary, Please read and understand the complete Disclosure               • Can be changed to a Member of the Family of the existing Beneficiary
 Booklet and the Tuition Savings Agreement before you invest.                           without income tax consequences.
 Program Overview                                                                     For more complete information, please see:
 Offered by New York State, the Advisor-Guided Plan lets you save for
 education expenses by investing in a manner that is tax-advantaged in certain        Your Account                                                     Pages 3-11
 instances. Through your Account, you select and then contribute to one or            Important Tax Information                                       Pages 45-48
 more of the 31 Investment Options included in the Advisor-Guided Plan. Any
 investment earnings will grow tax-deferred and your withdrawals from the             Investment Options
 Account are federally and New York State tax free, provided that the money is
                                                                                      • The Advisor-Guided Plan offers the following investment options:
 used for Qualified Higher Education Expenses.
                                                                                         • Age-Based Investment Option
 This Disclosure Booklet contains important information that can help you
 decide whether to open an Account in the Advisor-Guided Plan. You'll learn              • Asset Allocation Investment Option
 about topics that include:                                                              • Individual Portfolio Investment Option
 • Getting Started. You'll find information about establishing an Account,            • Underlying Funds are managed by JPMIM or SSGA FM.
   naming a Beneficiary and who is eligible to own and contribute to the
   Account. See Section 1. Your Account.                                              • Account Owners can change how previous contributions (and any earnings
                                                                                        thereon) are allocated among the available investment options for an
 • Your Investment Choices. Detailed profiles of the Advisor-Guided Plan's              Account twice per calendar year or upon a change of the Beneficiary.
   Portfolios are included to help you make informed choices for your
   Beneficiary's future. Among, your choices are nine Age-Based Portfolios            • Account Owners may hold more than one Portfolio within an Account.
   that automatically adjust to more conservative investments as your                   Certain exceptions may apply.
   Beneficiary gets closer to college age, six Asset Allocation Portfolios that       • Class A, Class C and Advisor Class Units are currently available in the
   adjust only at your instruction and sixteen Individual Portfolios that allow         Advisor-Guided Plan. Each class has a different fee structure. Advisor
   you to build or customize your own asset allocation model. Keep in mind              Class Units have specific eligibility requirements.
   that the Portfolios offer growth potential, but there's also risk, and you could
   lose money. See Section 2. Your Investment Options and Section 3.                  For more complete information, please see:
   Certain Risks of Investing in the Advisor-Guided Plan.                             Your Investment Options                                        Pages 12.22
 • Fees. A discussion of the Advisor-Guided Plan's fee structure can help you
                                                                                      Important Tax Information                                      Pages 45-48
   understand what your expected cost will be. See Section 4. Your
   Investment Costs.
                                                                                      Fees and Expenses
 • Federal and State Tax Advantages. 529 Plans, named for the section of
                                                                                         The range of total asset-based fees (including Underlying Fund expenses
   the Code that authorized them, offer federal tax and state tax benefits,
                                                                                         and Program Management Fees)for each class is as follows:
   including tax-free withdrawals if the money is used for Qualified Higher
   Education Expenses and federal tax benefits if the money is used for K-12           Class A Units                           0.58% to 1.30%
   Tuition Expenses. If you don't use the money on qualified expenses, the
   earnings will be subject to federal and applicable state and local income           Class B Units                           1.45% to 2.05%
   taxes as well as a Federal Penalty. See Section 5. Important Tax                    Class C Units                           1.33% to 2.05%
   Information and Section 1. Your Account.
                                                                                       Advisor Class Units                     0.33% to 1.05%
 Contact Information
                                                                                      • Other fees and charges may apply.
 Mail:               New York's 529 Advisor-Guided College Savings Program
                                                                                      For more complete information, please see:
                     P.O. Box 55498
                     Boston, MA 02205-5498                                            Your Investment Costs                                           Pages 26-44
 Website:            www.ny529advisor.com
 E-Mail:             ny.529advisor@jpmorgan.com                                       Contributing to an Account
 Toll-free phone:    1-800-774-2108, Monday through Friday, 8:00 a.m.
                                                                                         Minimum Initial Contribution: $1,000 per AccoUnt for each class except for
                     to 7:00 p.m. EST
                                                                                         certain eligible participants purchasing Advisor Class Units; provided, that,
                                                                                         JPMorgan and Ascensus employees are subject to a $1,000 minimum initial
 Account Ownership
                                                                                         investment for direct purchases into the Advisor Class. Exceptions to the
 • Open to U.S. citizens and resident aliens with a valid Social Security                minimum contribution apply with respect to contributions made by Recurring
   number.                                                                               Contributions,through payroll direct deposit and contributions made in
 • Individuals and certain legal entities can open an Account, but each must             connection with the Automated Dollar Cost Averaging Program (see below).
   have a valid Social Security or tax identification number.                         • Minimum Subsequent Contribution: $25 per Account.
 • There can be only one Account Owner and one Beneficiary for each                   • Contributions to an Account can be made by persons other than the
   Account. An Account Owner can be the Beneficiary of the Account.                     Account Owner, but the Account Owner retains ownership and control of all
                                                                                        Account assets. Contributions made by a non-Account Owner are not tax
 For more complete information, please see:
                                                                                        deductible by the Account Owner.
 Your Account                                                      Pages 3-11


                                                                                                                                                               Page 1
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 • Contributions can be made by checks and bank transfers drawn on a U.S.            • Subject to certain exceptions, the earnings portion of a Federal Non-
   bank or periodically through Recurring Contributions or through payroll             Qualified Withdrawal also will be subject to the Federal Penalty.
   direct deposit. Checks should be made payable to New York's
                                                                                     Applicable tax rules are complex, certain rules are uncertain, and their
   529 Advisor-Guided College Savings Program. You may also be able to
                                                                                     application to any particular person may vary according to facts and
   make contributions through your financial advisory firm,
                                                                                     circumstances applicable to that person, You should consult a qualified tax
 • Initial recurring and payroll direct deposit contributions must be $25            advisor regarding the application of the law to your circumstances.
   per Account.
                                                                                     For more complete information, please see:
  For more complete information, please see:
                                                                                     Your Account                                                        Pages 3-11
 Your Account                                                      Pages 3-11
                                                                                     Important Tax Information                                          Pages 45-48
  I mportant Tax Information                                      Pages 45-48
                                                                                     New York Tax Information
  Account Balance Limit
                                                                                     • Individual Account Owners who file individual New York State income tax
 • The Maximum Account Balance is currently $520,000, subject to
                                                                                       returns may deduct up to $5,000 per tax year ($10,000 for those filing
   adjustment in the future. The Account balance may exceed $520,000 due
                                                                                       jointly) for their total, combined contributions to the Advisor-Guided Plan
   to market increases or earnings of the Portfolios.
                                                                                       and the Direct Plan during that tax year.
 • Additional contributions may not be made to an Account for a particular
                                                                                     • Earnings accrue free from New York State income tax while held in the
   Beneficiary if the Maximum Account Balance is reached.
                                                                                       Account.
  For more complete information, please see:
                                                                                        The earnings portion of New York Qualified Withdrawals is exempt from
  Your Account                                                     Pages 3-11           New York State income taxes.
 Important Tax Information                                        Pages 45.48        • The amount of any deduction previously taken for New York individual
                                                                                       income tax purposes for contributions to the Program would be subject to
  Withdrawals; Transfers to Other Section 529 Plans                                    recapture if those assets are rolled over to a Non-New York 529 Plan.
   Withdrawals used to pay for Qualified Higher Education Expenses are not           • New York Non-Qualified Withdrawals (subject to certain exceptions, such
   taxable income to the Account Owner or to the Beneficiary.                          as the Beneficiary's death or Disability) are subject to recapture of any
                                                                                       previous New York State tax deductions taken for contributions to the
 • Withdrawals used to pay for K-12 Tuition Expenses are not taxable income
                                                                                       Account. Additionally, the earnings portion of a New York Non-Qualified
   to the Account Owner or Beneficiary for federal tax purposes. However,
                                                                                       Withdrawal would be subject to New York State income taxes.
   these withdrawals are considered a New York Non-Qualified Withdrawal
   and will require the recapture of any New York State tax benefits that have       For more complete information, please see:
   accrued on contributions to the Account.
                                                                                     Your Account                                                        Pages 3-11
 • Qualified Higher Education Expenses include tuition, fees, books, supplies,
   and equipment required for enrollment or attendance at an Eligible                Important Tax Information                                         Pages 45-48
   Educational Institution; the purchase of certain computer equipment,
   software, Internet access, and related services, if used primarily by your        Risk Factors
   Beneficiary while enrolled at an Eligible Educational Institution; certain room   • An investment in the Portfolios is subject to investment risks. You could
   and board expenses for your Beneficiary; and certain expenses for students          lose money, including the principal you invest.
   with special needs.
                                                                                     • There is no guarantee or assurance that the investment objective of any
 • K-12  Tuition Expenses include tuition expenses in connection with                  Portfolio will be achieved or that you will have sufficient assets in your
   enrollment or attendance at an elementary or secondary public, private or           Account to meet your Beneficiary's Qualified Higher Education Expenses or
   religious school, not to exceed $10,000 per calendar year                           K-12 Tuition Expenses or that your investment goals will be realized.
 • The earnings portion of withdrawals that are not New York or Federal                 Portfolio asset allocation, strategies of Underlying Funds, fees, and
   Qualified Withdrawals are subject to certain federal and state taxes and             applicable federal or state tax laws may change from time to time.
   may be subject to the recapture of any previous New York State tax
   deductions taken for the contributions portion of the withdrawal,                 • Participation in the Advisor-Guided Plan may affect eligibility for financial
                                                                                       aid.
 For more complete information, please see:
                                                                                     For more complete information, please see:
 Your Account                                                      Pages 3-11
                                                                                     Certain Risks of Investing in the Advisor-Guided
 Important Tax Information                                        Pages 45-48          Plan                                                            Pages 23-25
  Federal Tax Information                                                            Important Tax Information                                         Pages 45-48
 • Earnings accrue free from federal income tax while held in the Account.
 • Federal Qualified Withdrawals are withdrawals used to pay for the
   Beneficiary's Qualified Higher Education Expenses and/or K-12 Tuition
   Expenses.
 • The earnings portion of a Federal Qualified Withdrawal is not taxable
   income to the Account Owner or Beneficiary.
 • The earnings portion of a Federal Non-Qualified Withdrawal is includable in
   the taxable income of the Account Owner or possibly the Beneficiary if paid
   to the Beneficiary.

                                                                                                                                                                 Page 2
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 Section 1. Your Account                                                               Other considerations when selecting a Beneficiary:
 This Section will guide you through the details of opening an Account,                • You may select only one Beneficiary per Account.
 contributing to your Account, maintaining your Account, using your savings to         • You do not have to be related to the Beneficiary.
 pay for Qualified Higher Education Expenses, and closing your Account.
                                                                                       • You may select yourself as Beneficiary.
 Opening your Account                                                                  • You may open Accounts for multiple Beneficiaries.
 To be an Account Owner, you must be a U.S. citizen or resident alien and
 have a Social Security number or taxpayer identification number. Trusts,              Choosing a Successor Account Owner
 estates, corporations, companies, partnerships, and associations may also be          You may designate a successor Account,Owner to succeed to all of your
 Account Owners. If an Account is opened in the name of a minor as Account             rights, title, and interest in and to an Account (including the right to change the
 Owner, a parent or guardian must execute the Enrollment Application on                Beneficiary or withdraw all or any portion of the assets) upon your death. This
 behalf of the minor. You must provide us with a permanent U.S. street address         designation can be made on the Enrollment Application, which is available on
 that is not a post office box. You do not have to be a resident of New York, and      our website at www.ny529advisor.com. If you fail to designate a successor
 there are no income restrictions on Account Owners.                                   Account Owner on the Enrollment Application, and subsequently decide to
 To open an Account, you must complete and sign the Enrollment Application             make a designation, or if you wish to revoke or change a designation, you may
 and have your financial advisor submit the application by mail to:                    make the change by submitting the appropriate Form. The Account will
                                                                                       become effective for the successor Account Owner once your instructions
              New York's 529 Advisor-Guided College Savings Program                    have been received and processed. If you have designated a successor
              P.C. Box 55498                                                           Account Owner, your successor Account Owner will automatically become the
              Boston MA 02205-5498                                                     Account Owner upon your death. The successor Account Owner will be
                                                                                       required to give us a certified copy of a death certificate sufficiently identifying
 By signing the Enrollment Application, you irrevocably agree that the Account
                                                                                       you by name and Social Security number or other proof recognized under
 is subject to the terms and conditions of the then-current Disclosure Booklet
                                                                                       applicable law and acceptable to us before taking any action regarding the
 and Tuition Savings Agreement. We reserve the right to hold you liable in the
                                                                                       Account following your death, To complete the transfer, your successor
 event that you intentionally provide inaccurate information in connection with
                                                                                       Account Owner must aiso provide a letter of instruction and complete a new
 your Account.
                                                                                       Enrollment Application.
 Control Over the Account                                                              You should consider consulting a qualified estate planning and tax advisor
 Although other persons may contribute to an Account, only the Account Owner           about the potential legal and tax consequences of a change in Account Owner
 may control how the Account's assets are invested and used. Although                  at your death.
 contributions to the Program are considered completed gifts for federal gift,
 generation-skipping, and estate tax purposes, a Beneficiary who is not the            Choosing an Investment Option
 Account Owner has no control over the assets in the Account. See "Choosing            You will need to select an Investment Option for,your Account on your
 a Successor Account Owner."                                                           Enrollment Application. Please see Section 2. Your Investment Options,
                                                                                       Section 3. Certain Risks of Investing in the Advisor-Guided Plan, and
 Special Rules for Scholarship Accounts                                                Section 4. Your Investment Costs to help with this investment selection.
 Federal tax law permits Section 501(c)(3) organizations and certain
 governmental entities (but not individuals or other types of organizations and        Contributing to Your Account
 entities) to open an Account for the purpose of funding a scholarship program.        You may contribute to your Account by any of the following methods:
 The owner of the Account need not designate a specific individual as                  Recurring Contributions, electronic bank transfer; check, payroll deduction (if
 Beneficiary when the Account is opened. instead, the owner may designate              your employer permits payroll deduction), transfer from a Upromise account,
 Beneficiaries from time to time in connection with scholarship awards made            rollover from a Non-New York 529 Plan, transfer from another Account in the
 under the scholarship program by requesting a Beneficiary change with a               Advisor-Guided Plan or the Direct Plan, transfer from an education savings
 Beneficiary Change Form. These Beneficiaries need not be members of the               account; or redemption of a qualified U.S. Savings Bond. We also accept
 same family. The contribution limitation that applies to other Accounts.does not      contributions from custodial accounts under the Uniform Gifts to Minors Act or
 apply to scholarship Accounts; however, contributions should be in line with          the Uniform Transfers to Minors Act(UGMAIUTMA). You may also receive a
 the scope and size of the scholarship program, Once a Beneficiary is named,           minimum gift contribution of $25 through Ugift. Some of these methods are
 the Maximum Account Balance limitations will apply to that Beneficiary. We            discussed in detail later in this Section. You may contribute through your
 reserve the right to place limits on the total dollar amount of contributions to an   financial advisor.
 Account established as a scholarship program.

 Choosing a Beneficiary
 You will need to select a Beneficiary for the Account on your Enrollment
 Application, Your Beneficiary is the future student. Your Beneficiary does not
 have to be a New York State resident; however, he or she must be a U.S.
 citizen or resident alien with a valid Social Security number or taxpayer
 identification number.




                                                                                                                                                                    Page 3
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 At a Glance—How to Contribute to Your Advisor-Guided Plan Account
  Recurring Contributions              Link your bank account and the Advisor-Guided Plan and schedule automatic transfers of a set amount.
  Electronic Bank Transfer (EBT)       Link your bank account and the Advisor-Guided Plan to transfer money directly to your Advisor-Guided Plan Account.
  Check                                Send a check made payable to "New York 529 Advisor-Guided Plan" to one of the addresses detailed below.
  Payroll Direct Deposit               A method of contribution to your own Account directly through your employer, if allowable.
  Upromiseo Service                    You may contribute to your Account by participating in the Upromise® service, a rewards service that returns, as college
                                       savings, a percentage of your eligible spending with hundreds of America's leading companies.
  Ugift@                               You may invite family and friends to contribute to your Advisor-Guided Plan Accounts through Ugift®, an Advisor-Guided Plan
                                       feature.
  Incoming Rollover                    Contributions to your Account may be made with funds transferred from a Non-New York 529 Plan, This transaction is known
  Contributions from Non-New           as a "Rollover."
  York 529 Plans
  Transfer Within New York             You can transfer assets directly between Accounts in the Direct Plan and the Advisor-Guided Plan, twice per calendar year for
  Program for Same Beneficiary         the same Beneficiary.
  Transfer Within New York             You can transfer assets in the Direct Plan and the Advisor-Guided Plan, from an Account for one Beneficiary to an Account for
  Program for Another                  a new Beneficiary, without federal income taxes or the Federal Penalty, if the new Beneficiary is a Member of the Family of the
  Beneficiary                          prior Beneficiary.
  Contributions from a Coverdell       Contribute to the Advisor-Guided Plan from an education savings account or by selling a qualified U.S. Savings Bond.
  Educations Savings Account
  or Qualified United States
  Savings Bond
  Contributions from UGMAI             Contribute assets from an UGMA / UTMA account to your Advisor-Guided Plan Account.
  UTMA Custodial Accounts

 Minimum Contributions                                                                 withdrawals from the Account(s), additional contributions will be accepted. We
                                                                                       may, in our discretion, refuse to accept a proposed contribution if we
 The minimum initial investment in the Advisor-Guided Plan is (a) $1,000 in a
                                                                                       determine that accepting the contribution would not comply with federal or New
 lump-sum,(b)$25 per month or $75 per quarter as a Recurring Contribution,             York State requirements. None of the Associated Persons will be responsible
 or (c) $25 per month by Payroll Direct Deposit per Account. These minimums            for any loss, damage, or expense incurred in connection with a rejected or
 are generally not applicable for investments in Advisor Class Units (other than
                                                                                       returned contribution. In the future the Maximum Account Balance might be
 those by employees of JPMorgan and Ascensus). Once an investment in an                reduced under certain circumstances. To determine periodically whether the
 Account is made, additional contributions may be made to the Account so long          Maximum Account Balance has changed, log on to www.ny529advisor.com.
 as each subsequent contribution equals or exceeds $25 (please note the
 exception to these minimums for contributions made in connection with                 Spousal Contribution
 Recurring Contributions or payroll direct deposit(minimum initial investment of
 $25 per Account) or the Automated Dollar Cost Averaging Program as                    Your spouse can contribute to your Account and those contributions may be
 described below). Purchases of Advisor Class Units by JPMorgan and                    eligible for the New York State tax deduction if you file a joint New York State
 Ascensus employees and other affiliated persons are also subject to a                 income tax return. If a contribution check is from your spouse's individual bank
 minimum initial investment of $1,000.                                                 account, we will generally treat it as a contribution made by a third party,
                                                                                       however, these third party spousal contributions may still be deductible from
  Maximum Account Balance.                                                             New York taxable income under certain circumstances. Please contact the
                                                                                       New York State Department of Taxation and Finance (DTF)to see if the
 There is no limit on the growth of Accounts. However, contributions to your           contribution qualifies for a deduction.
 Account will not be permitted if at the time of the proposed contribution the
 aggregate Account balance, including the proposed contributions (including all         I mpermissible Methods of Contributing
 Advisor-Guided Plan Accounts and Direct Plan Accounts for the same
 Beneficiary, regardless of Account Owner) would exceed the Maximum                    We will not accept contributions made by cash, money order (except in certain,
 Account Balance limit. The Maximum Account Balance is currently $520,000.             limited circumstances, please contact the Advisor-Guided Plan at 1-800-774-
 The Maximum Account Balance is determined periodically by the Program                 2108 for more information), a check endorsed to the Advisor-Guided Plan in
 Administrators in compliance with federal and State requirements.                     excess of $10,000, traveler's check, starter check, checks drawn on banks
                                                                                       outside the U.S or checks not in U.S. dollars, checks dated more than 180
 Accounts that have reached the Maximum Account Balance may continue to                days prior to the date of receipt, post-dated checks, or checks with unclear
 accrue earnings, but additional contributions will not be accepted and will be        instructions, or any other checks the Advisor-Guided Plan deems
 returned. The Maximum Account Balance is based on the current aggregate               unacceptable. We also will not accept contributions made with stocks,
 market value of the Account(s) for a Beneficiary plus the amount of total New         securities, or other non-cash assets.
 York Qualified Withdrawals plus the amount of withdrawals used to pay K-12
 Tuition Expenses and not solely on the aggregate contributions made to the
 Account(s). If, however, the market value of the Account(s) falls below the
 Maximum Account Balance due to market fluctuations and not as a result of



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  Allocation of Contributions                                                           Contribution cannot be processed due to incomplete or inaccurate information
                                                                                        or (3) the transaction would violate processing restrictions.
  You will be asked to designate on your Enrollment Application how you want
  contributions allocated among Investment Options, classes of Portfolio Units          Electronic Bank Transfer, You may contribute to your Account by authorizing
  and Portfolio(s). Subsequent contributions will be allocated based on your            a withdrawal from your checking or savings account by EBT. You may be the
  initial instructions until you tell us otherwise.                                     sole or joint owner of the account, subject to certain processing restrictions. To
                                                                                        authorize an EBT, you must provide certain information about the bank
  Automated Dollar-Cost Averaging Program                                               account from which funds will be withdrawn (the same information required to
                                                                                        establish a Recurring Contribution). Once you have provided that information,
  By selecting the Automated Dollar-Cost Averaging Program, you may make a              you may request an EBT from the designated bank account to your Program
  lump sum contribution to an initial Portfolio, and at the time of the lump sum        Account, online at www.ny529advisor.com or by phone at 1-800-774-2108.
  contribution, designate automatic periodic allocations to one or more other
  Portfolios. To enroll in this program, your total initial contribution must be at     There is no charge for requesting an EBT. The trade date for the EBT will be
  least $5,000 in the initial Portfolio, and the amount of your automatic periodic      determined as described below under "Pricing of Portfolio Units and Trade
  allocation to each Portfolio selected at the time you enroll must be at least         Date Policies," We reserve the right to suspend the processing of future EBT
  $100 per Portfolio, These automatic periodic allocations are not considered           contributions if(1) the bank account on which the contribution is drawn
  reallocations for purposes of the twice-per-calendar-year limit on investment         contains insufficient funds,(2) the EBT cannot be processed due to incomplete
  exchanges if specified at the time the lump-sum contribution is made. The             or inaccurate information or (3) the transaction would violate processing
  periodic allocations will be made on the 15th of the month or, if that day is not     restrictions.
  a business day, on the next succeeding business day and will continue until           We may place a limit on the total dollar amount per day you may contribute to
  your investment in the initial Portfolio is depleted. Adding or changing the          your Account by EBT. This limit is typically five times the Federal annual gift
  automatic allocation instructions with respect to prior contributions still           limit. Contributions in excess of this limit will be rejected or returned. If you plan
  remaining in the initial Portfolio will constitute an investment exchange for         to contribute a large dollar amount to your Account by EBT, you may want to
  purposes of the twice-per-calendar-year limitation. See "Maintaining Your             inquire about the current limit prior to making your contribution.
  Account—Changing Investment Options within the Program" in this
  Section,                                                                              Contributions by Check. All checks should be made payable to "New York's
                                                                                        529 Advisor-Guided College Savings Program" and sent to the following
 A program of regular investment cannot assure a profit or protect against a            address:
 loss in a declining market. Since the dollar-cost averaging method involves
 periodic transfers from the initial Portfolio regardless of fluctuating price levels                New York's 529 Advisor-Guided College Savings Program
 of a Portfolio's Underlying Fund(s)(and resulting fluctuations of the Portfolio's                   P.O. Box 55498
 Unit value), you should consider your financial ability to not withdraw the lump                    Boston, MA 02205-5498 (for regular mail)
 sum(s) contributed through periods of low price levels.
                                                                                                     Or
  Contribution Types
                                                                                                     New York's 529 Advisor-Guided College Savings Program
 Recurring Contributions. You may contribute to your Account through
 periodic automated debits from your checking or savings account if your bank                        95 Wells Avenue, Suite 155
 is a member of the Automated Clearing House, subject to certain processing                          Newton, MA 02459 (for overnight mail)
 restrictions. To initiate a Recurring Contribution during enrollment, you must         For established Accounts, the Account number should be included on the
 complete the appropriate section of the Enrollment Application. You also may           check. You may endorse checks not exceeding $10,000 payable to the
 set up a Recurring Contribution after you have opened your Account by                  Account Owner or Beneficiary to New York's 529 Advisor-Guided College
 submitting the appropriate form or electronically after registering for Account        Savings Program. In addition to your contributions, third parties, such as
 access through www.ny529advisor.com. You can also setup or change your                 families and friends or your business, can make contributions to an Account.
 Recurring Contribution if your Account is linked to your bank account through          However, you remain in control of your Account. Contributions to an
 EBT. Initial and subsequent Recurring Contributions must be in an amount               Account by third parties are not generally deductible from New York
 equal to at least $25 per month (or $75 per quarter) per Account.                      taxable income by the third party or the Account Owner. Please contact
 There is no charge for establishing or maintaining Recurring Contributions.            DTF to see if the contribution qualifies fora deduction.
 Your bank account will be debited on the day you designate, provided the day           Payroll Direct Deposit. You may contribute to your Account directly through
 is a regular business day. If the day you designate falls on a weekend or a            payroll direct deposit if your employer allows this service. You must contact
 holiday, the debit will occur on the next business day. Quarterly investments          your employer's payroll office to verify that you can participate. Payroll direct
 will be made on the day indicated every three months. The starting date for a          deposit contributions will not be made to your Account until you have received
 Recurring Contribution must be at least three days from the date of receipt of         a Payroll Direct Deposit Confirmation Form from us, provided your signature
 the request to establish Recurring Contributions. If no date is indicated, debits      and Social Security number or Taxpayer Identification number on the Form,
 from your bank account will be made on the 15th of the month (or on the next           and submitted the Form to your employer's payroll office. Initial and
 business day thereafter).                                                              subsequent contributions must be in an amount equal to at least $25 per
                                                                                        month per Account.
  Authorization to perform automated Recurring Contributions will remain in
  effect until we have received notification of its termination. Either you or the      Upromise@ Service. You may choose to participate in the Upromise° service,
  Program may terminate your enrollment in Recurring Contributions at any time.         a rewards service that returns a percentage of your eligible spending with
  To be effective, a change to, or termination of, your Recurring Contributions         hundreds of America's leading companies as college savings. Once you enroll
 (including termination in connection with closing an Account) must be received         in the Program, your Upromise service account and your Advisor-Guided Plan
  by the Program at least five business days before the next debit is scheduled         Account can be linked so that your rebate dollars are automatically transferred
  to be deducted from your bank account and is not effective until we have              to your Advisor-Guided Plan Account on a periodic basis. The minimum
  received and processed the contribution. We reserve the right to suspend the          amount for an automatic transfer from a Upromise service account to an
  processing of future Recurring Contributions if(1) the bank account on which          existing Account within the Program is $25 per Account. You may be eligible to
  the contribution is drawn contains insufficient funds,(2) the Recurring               deduct all or a portion of your rewards savings transferred to your Program

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  Account from your New York adjusted gross income. See "Section 5.                    reporting purposes as a distribution of earnings from the distributing
  Important Tax Information."                                                          529 Plan. See "Section 5. Important Tax Information.
  This Disclosure Booklet is not intended to provide information concerning the        Transfer within New York Program for Same Beneficiary. Under
  service. The Upromise service is administered in accordance with the terms           Section 529 of the Code, you can transfer assets directly between Accounts in
  and procedures set forth in the Upromise Member Agreement (as may be                 the Direct Plan and the Advisor-Guided Plan, twice per calendar year for the
  amended from time to time) on the Upromise service website, which can be             same Beneficiary. This type of direct transfer is considered an Investment
  accessed through www.ny529advisor.com. If you want more information                  Exchange for federal and state tax purposes and is therefore subject to the
  about the Upromise service, please visit www.upromise.com. The Upromise              restrictions on Investment Exchanges described below under "Changing
  service is not affiliated with the State of New York.                                Investment Options within the Program."
  Ugift®. You may invite family and friends to contribute to your Account through      This type of transfer should be done directly between the Accounts, without a
  Ugift. Once you provide a unique contribution code to selected family and            distribution of money from the Program, to avoid adverse federal and state tax
  friends, gift givers can either contribute on-line through an Electronic Bank        consequences. For federal and state tax purposes, an indirect transfer
  Transfer or by mailing in a gift contribution coupon with a check made payable       involving the distribution of money from the Direct Plan to the Advisor-Guided
  to "Ugift—New York's 529 Advisor-Guided College Savings Program". The                Plan or vice versa, would be treated as both a New York and Federal Non-
  minimum Ugift contribution is $25.                                                   Qualified Withdrawal (and not as an Investment Exchange), even though
                                                                                       subsequently contributed to the new Account for the same Beneficiary. See
  Gift contributions received in good order will be held for approximately five        "Section 5. Important Tax Information."
  business days before being transferred into your Account. Gift contributions
  through Ugift are subject to the Maximum Account Balance and daily                   Depending on what Unit class you hold, a transfer from an Advisor-Guided
  contribution limits requirements of the Advisor-Guided Plan. Gift contributions      Plan Account to a Direct Plan Account may be subject to a CDSC.
  will be invested according to the allocation on file for your Account at the time
                                                                                       Transfer within New York Program for Another Beneficiary. Under
  the gift contribution is transferred. There may be potential tax consequences of
                                                                                       Section 529, you can transfer assets in the Direct Plan and the Advisor-Guided
  gift contributions to an Advisor-Guided Plan Account. You and the gift giver
                                                                                       Plan, from an Account for one Beneficiary to an Account for a new Beneficiary,
  should consult a tax advisor for more information. For more information about
                                                                                       without incurring federal income taxes or the Federal Penalty, if the new
  Ugift, visit www.ny529advisor.com or call us at 1-800-774-2108.
                                                                                       Beneficiary is a Member of the Family of the prior Beneficiary. The transfer will
  Incoming Rollover Contributions from Non-New York 529 Plans.                         be permitted only to the extent that the aggregate balance of Advisor-Guided
  Contributions to your Account may be made with funds transferred from a Non-         Plan Accounts and Direct Plan accounts for the new Beneficiary, including the
  New York 529 Plan, also known as a Rollover. Rollover funds from an account          transfer, would not exceed the Maximum Account Balance. See "Maximum
  in a Non-New York 529 Pian may be contributed to your Account for the same           Account Balance." This type of transfer is not permitted for an Account
  Beneficiary without federal income tax consequences or imposition of the 10%         funded with proceeds of an UGMA/UTMA account.
  additional federal income tax penalty (Federal Penalty) if the Rollover does not
                                                                                       For federal tax purposes, this type of transfer may be done directly between
  occur within 12 months from the date of a previous transfer to any Qualified
                                                                                       the Accounts, without a distribution of money from the Program, or indirectly,
  Tuition Program for the benefit of the same Beneficiary. Rollover funds from an
                                                                                       by contributing money to the receiving Account within 60 days after the
  account in a Non-New York 529 Plan also may be contributed to an Advisor-
                                                                                       distribution from the prior Account. However, for New York income tax
  Guided Plan Account without federal income tax consequences at any time
                                                                                       purposes, an indirect transfer (with money being distributed from the Program)
  when you change Beneficiaries, provided that the new Beneficiary is a Member
                                                                                       will be treated as a New York Non-Qualified Withdrawal (and thus may be
  of the Family of the old Beneficiary as described in "Substituting
                                                                                       subject to New York state taxes on earnings, as well as the recapture of
  Beneficiaries." A Rollover that does not meet these criteria will be considered
                                                                                       previous New York state tax deductions taken for contributions to the prior
  a Non-Qualified Withdrawal from the Non-New York 529 Plan. Each of a New
                                                                                       Account), even if the money is contributed to the new Account within 60 days
  York and Federal Non-Qualified Withdrawal is subject to applicable federal and
                                                                                       and is not subject to federal income tax (although the subsequent
  state income tax and the Federal Penalty on earnings, and may also have
                                                                                       recontribution of assets to the new Account may be eligible for the New York
  federal or state gift tax, estate tax, or generation-skipping transfer tax
                                                                                       State tax deduction for contributions). See "Section 5. Important Tax
  consequences. See "Section 5. Important Tax Information."
                                                                                       Information.
  Incoming Rollovers can be direct or indirect. Direct Rollovers involve the
                                                                                       Depending on what Unit class you hold, a transfer from an Advisor-Guided
  transfer of money from a Non-New York 529 Plan directly to the Advisor-
                                                                                       Plan Account to a Direct Plan Account may be subject to a CDSC.
  Guided Plan. Indirect Rollovers involve the distribution of money from an
  account in e Non-New York 529 Plan to the account owner, who then                    Contributions from a Coverdell Education Savings Account or Qualified
  contributes the money to an Account in the Program. To avoid federal income          United States Savings Bond. You can contribute to your Account with
  tax consequences, including the imposition of the Federal Penalty, money you         proceeds from the sale of assets held in an education savings account or a
  receive in an indirect Rollover must be contributed to the Advisor-Guided Plan       Qualified Savings Bond. See "Section 5. Important Tax Information." The
  within 60 days of the distribution. You may be eligible to deduct all or a portion   following documentation should be provided to the Program:
  of the Rollover from your New York adjusted gross income. See "Section 5.
  Important Tax Information." You should be aware that not all Non-New York               I n the case of a contribution from a Coverdell Education Savings Account,
                                                                                          an account statement or other documentation issued by the financial
  529 Plans permit direct Rollovers of funds. Additionally, there may be state
                                                                                          institution that acted as custodian of the Coverdell Education Savings
  income tax consequences (and in some cases penalties) from a Rollover out of
                                                                                          Account that shows the total amount contributed to the account and the
  another state's 529 Plan.
                                                                                          earnings in the account.
  Rollover funds may be contributed to the New York Program, directly (if
                                                                                          I n the case of a contribution from the redemption of a Qualified Savings
  permitted by the Non-New York 529 Plan) or indirectly, either as an initial.
                                                                                          Bond, an account statement or Form 1099-INT or other documentation
  contribution when you open an Account or as an additional contribution to an
                                                                                          issued by the financial institution that redeemed the Qualified Savings Bond
  existing Account, You should provide to us an account statement or other
                                                                                          showing interest from the redemption of the Qualified Savings Bond.
  documentation from the distributing 529 Plan indicating the portion of the
  withdrawal attributable to earnings. Until we receive this documentation, the        Until we receive this documentation, the entire amount of the contribution will
  entire amount of the Rollover will be treated for record-keeping and tax             be treated as earnings for record-keeping and tax reporting purposes. See

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  "Section 5. Important Tax Information," You should consult a qualified             assets invested in or expected to be invested in the Advisor-Guided Plan and
  tax advisor with respect to contributions from a Coverdell Education               other funds that JPMDS distributes and redemption rates, the quality of the
  Savings Account or Qualified Savings Bond.                                         financial advisory firm's relationship with JPMDS and/or its affiliates or the
                                                                                     Program Manager, and the nature of the services provided by a financial
  Contributions from UGMA/UTMA Custodial Accounts. If you are the                    advisory firm to its clients. The payments may be made in recognition of such
  custodian of an UGMA/UTMA account, you may be able to open an Account              factors as marketing support, access to sales meetings and the financial
  using custodial assets previously held in the UGMA/UTMA account, subject to        advisory firm's representatives, and inclusion of the Advisor-Guided Plan or
  the laws of the state where you opened the UGMA/UTMA account. As                   other funds that JPMDS distributes on focus, select or other similar lists.
  custodian, you will act as the Account Owner. As custodian, you may incur
  capital gains (or losses)from the sale of noncash assets held in the UGMA/         Subject to applicable rules, JPMDS may also pay non-cash compensation to
  UTMA account. You should consult a qualified tax advisor with respect to the       financial advisory firms and their representatives, including: (i) occasional gifts;
  transfer of UGMA/UTMA custodial assets and the implications of such a              (ii) occasional meals, or other entertainment; and/or (iii) support for financial
  transfer. As an UGMA/UTMA custodian, you should consider the following:            advisor educational or training events.

  • You may make withdrawals from the Account only as permitted under the            In some circumstances, the payments discussed above may create an
    UGMA/ UTMA as in effect in the state under which the UGMA/UTMA                   incentive for an intermediary or its employees or associated persons to
    account was established and, by the Advisor-Guided Plan.                         recommend or sell shares of the Advisor-Guided Plan. Please also contact
                                                                                     your financial advisory firm for details about payments the firm may
  • You may not select a new Beneficiary (directly or by means of a Rollover),       receive.
    except as permitted under UGMAIUTMA.
  • During the term of the custodial account under UGMA/UTMA, you can                M aintaining Your Account
    name a successor custodian. This successor custodian will act as the             Changing Account Ownership
    Account Owner.
                                                                                     You can transfer ownership of all of your Account balance to a new Account
  • When the custodianship terminates, the Beneficiary is legally entitled to        Owner at any time. After the transfer is complete, the new Account Owner will
    take control of the Account and may become the Account Owner.                    have sole control of the assets you have chosen to transfer. Once you transfer
                                                                                     all the assets in your Account to a new Account Owner, your Account will be
     Additional contributions of money not previously gifted to the Beneficiary
                                                                                     closed.
     under the UGMA/UTMA account may be made to a separate, non-custodial
     Account, to allow the Account Owner to retain control of the separate           To make the change, you need to submit the New York's 529 Advisor-Guided
     Account after the custodianship terminates.                                     College Savings Program Change of Ownership Form. If you are transferring
                                                                                     ownership for more than one Account, you'll need to submit a separate form
  Neither the Program nor any of its Associated Persons will be liable for any
                                                                                     for each new Account Owner. In addition, if the new Account Owner doesn't
  consequences related to an UGMA/UTMA custodian's improper use, transfer,
                                                                                     already have an account for the Beneficiary, he or she must submit an
  or characterization of custodial funds.
                                                                                     Enrollment Application. Forms can be downloaded online at
                                                                                     www,ny529advisor.com. For questions about the forms, you can also call us
  Treatment of Certain Transfers and Rollovers: Sales Charges
                                                                                     at 1.800-774-2108 during normal business hours, Monday through Friday,
  A transfer of assets to the Advisor-Guided Plan from the Direct Plan, and a        8:00 a.m. to 7:00 p.m. EST.
  rollover to the Advisor-Guided Plan from a Non-New York 529 Plan, will be
  treated as a new contribution for purposes of determining any applicable initial   If the new Account Owner takes a withdrawal, he or she will be liable for any
  sales charge. To determine whether you are eligible to receive a Class A sales     previous New York state tax deductions you have taken if those deductions
  charge waiver, please see Waiver of Class A Sales Charges. Similarly, a            are subject to recapture including, in the case of New York Non-Qualified
  transfer of assets from the Advisor-Guided Plan to the Direct Plan, and a          Withdrawals, withdrawals because of Qualified Scholarships, attendance at a
  rollover from the Advisor-Guided Plan to a Non-New York 529 Plan, will be          U.S, Military Academy, and Rollovers to a non-New York 529 Plan account,
  treated as a withdrawal from the Advisor-Guided Plan for purposes of               The new Account Owner's liability for those deductions applies even if
  determining any applicable CDSC.                                                   he or she isn't a New York State taxpayer, Therefore, in order to complete
                                                                                     the transfer, you must certify that you have disclosed to the new Account
  Dealer Reallowances and Other Payments and                                         Owner any previous New York State tax deductions taken for contributions
                                                                                     made to the Account. A transfer of control of your Account may also have
  Compensation to Financial Advisory Firms
                                                                                     adverse income or gift tax consequences. You should contact a qualified tax
  Financial advisory firms, through which you may invest in the Advisor-Guided       advisor regarding the application of federal, state, and local tax law to your
  Plan, will receive compensation under one of the fee structures described          circumstances before transferring ownership of an Account.
  below in accordance with the financial advisory firm's agreement with JPMDS.
  The commission will be all or a portion of the sales charge paid by an Account     Confirmations and Statements/Safeguarding Your Account
  Owner and an ongoing trail commission that represents all or a portion of the
                                                                                     You will receive confirmations for any activity in the Account, except.for
  distribution and service fee payable from Account assets, except for Advisor
                                                                                      Recurring Contribution transactions, Account assets that are automatically
  Class Units which are not subject to.a sales charge or distribution and service
  fee. For Class A and B Units, this ongoing trail commission is accrued              moved to a more conservative Age-Based Option as a Beneficiary ages,
                                                                                     exchanges made for the Automated Dollar-Cost Averaging Program, and
  immediately and paid monthly; and for Class C Units, it is paid monthly starting
                                                                                      transfers from a Uprornise service account to the Account, all of which will be
  in the 13th month after purchase.
                                                                                     confirmed on a quarterly basis only. You will receive quarterly account
  In addition to the commissions specified above, JPMDS, JPMIM and the               statements indicating, for the applicable time period:(1) contributions;
  Program Manager, from their own resources, may make cash payments to               (2) withdrawals;(3) Investment Exchanges;(4) changes to contribution
  selected financial advisory firms that agree to promote the sale of Advisor-        percentages among selected Investment Options;(5) the total value of your
  Guided Plan Units or other funds that JPMDS distributes. It is anticipated that     Account at the end of that time period; (6) transfers from a Upromise service
  the payments will be made with respect to the Advisor-Guided Plan Units on a       account to your Account;(7) exchanges made for the Automated Dollar-Cost
  very limited basis. A number of factors may be considered in determining the        Averaging Program; and (8) adjustments to more conservative Age-Based
  amount of those payments, including the financial advisory firm's sales, client     Portfolios.

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  You can securely access your Account information, including quarterly              a subsequent withdrawal of the Class C Units of the JPMorgan 529 U.S.
  statements and transaction confirmations, 24 hours a day at                        Government Money Market Portfolio, any applicable CDSC will be charged at
  www.ny529advisor.com by obtaining an online user name, password, and               that time.
  security image. If you enroll online, you will be required to select a user name
                                                                                     Please see "Section 2, Your Investment Options" and "APPENDIX A:
  and password. We use reasonable procedures to confirm that transaction             U nderlying Funds" for more information about the Advisor-Guided Plan's
  requests are genuine. However, neither the Program nor any of its Associated
                                                                                     Investment Options and the Underlying Funds and their related risks.
  Persons will be responsible for losses resulting from fraudulent or unauthorized
  instructions received by the Advisor-Guided Plan, provided we reasonably           Substituting Beneficiaries
  believed the instructions were genuine. To safeguard your Account, please
                                                                                     Section 529 permits an Account Owner to change Beneficiaries without
  keep your information confidential, For more information about how we protect
                                                                                     adverse federal income tax consequences if the new Beneficiary is a Member
  your information and how you can protect your information, see the "Security'
  link on www.ny529advisorcom.                                                       of the Family of the former Beneficiary. Otherwise, the change is treated as
                                                                                     both a Federal and New York Non-Qualified Withdrawal subject to federal and
  Contact us immediately if you believe someone has obtained                         applicable state income tax, as well as the Federal Penalty. There may also be
  unauthorized access to your Account or if you believe there is a                   federal and state gift tax, estate tax or generation-skipping tax consequences
  discrepancy between a transaction you requested and your confirmation              in connection with changing the Beneficiary of your Account. You should
  statement,                                                                         consult a qualified tax advisor. See "Section 5. Important Tax Information,"
  If you receive a confirmation that you believe contains an error or does not       To change a Beneficiary, you must submit the appropriate form. Once you
  accurately reflect your authorized instructions—e.g., the amount invested          have requested the Beneficiary change, a new Account will be created for the
  differs from the amount contributed or the contribution was not invested in the    new Beneficiary. At the time you change Beneficiaries, you may reallocate
  particular Investment Option(s) you selected—you must promptly notify us of        assets in the Account to a different mix of Portfolios,
  the error. If you do not notify us promptly, you will be considered to have        You may not Change the Beneficiary of an Account or transfer funds between
  approved the information in the confirmation and to have released the Program      Accounts to the extent that the resulting aggregate balance of all Accounts for
  and its Associated Persons from all responsibility for matters covered by the      the new Beneficiary (including all Advisor-Guided Plan Accounts and Direct
  confirmation. Neither the Program nor any of its Associated Persons will be        Plan Accounts for the same Beneficiary, regardless of Account Owner) would
  responsible for losses resulting from an error if the error resulted from          exceed the Maximum Account Balance. In addition, the Beneficiary of an
  fraudulent or unauthorized instructions received by the Advisor-Guided Plan        UGMNUTMA account may not be changed.
  that we reasonably believed were genuine.
                                                                                     Assets transferred from one Account to another Account for a different
  Changing Investment Options within the Program                                     Beneficiary will be used to purchase the same class of Portfolio Units as those
                                                                                     being surrendered in connection with the transfer, regardless of the Portfolio
  You may move assets already in your Account to a different mix of Investment
                                                                                     that the Account Owner selects to invest in with the transferred funds. To the
  Options twice per calendar year without changing the Beneficiary online,
                                                                                     extent available, the new Portfolio Units will retain the same holding-period
  by phone, or by submitting the appropriate form. This is called an Investment
                                                                                     characteristics as the previously held Portfolio Units for purposes of calculating
  Exchange.
                                                                                     any applicable CDSC which may apply. If you change the Beneficiary of an
  You may also make an Investment Exchange at any time you change the                Account that holds Class A (in certain limited circumstances), Class B,
  Beneficiary, whether or not you have previously directed an Investment             or Class C Units to a Beneficiary nearing college age, it is possible that a
  Exchange within the calendar year. These two types of Investment Exchanges         withdrawal (including a Federal and New York Qualified Withdrawal) will
  are not subject to federal or State income tax or to the Federal Penalty. For      result in the imposition of a CDSC.
  Accounts invested in the Age-Based Option, the automatic reallocation of           Note: Assets invested in an Age-Based Portfolio, if not reallocated to a
  assets based on the age of the Beneficiary does not constitute an annual           different Portfolio, will automatically be moved to a different Portfolio
  Investment Exchange. Transfers between the Advisor-Guided Plan and the             within the Investment Option corresponding to the age of the new
  Direct Plan within the New York Program are considered to be Investment            Beneficiary (unless the new Beneficiary is in the same age bracket as the
  Exchanges for purposes of the twice-per-calendar-year limitation, and all          former Beneficiary).
  Advisor-Guided Plan Accounts and Direct Plan accounts having the same
  Account Owner and Beneficiary will be aggregated for purposes of the twice-        Account Restrictions
  per-calendar-year limitation.
                                                                                     I n addition to rights expressly stated elsewhere in this Disclosure Booklet, we
  Assets reallocated from one Portfolio to another will be used to purchase          reserve the right to:(1)freeze an Account and/or suspend Account services
  Portfolio Units in the selected Portfolio of the same class as those being         when the Program has received reasonable notice of a dispute regarding the
  surrendered in connection with the reallocation. The new Portfolio Units will      assets in an Account, including notice of a dispute in Account ownership or
  retain the same holding-period characteristics as the previously held Portfolio    when the Program reasonably believes a fraudulent transaction may occur or
  Units for purposes of calculating any applicable contingent deferred sales         has occurred; (2) freeze an Account and/or suspend Account services upon
  charge. Several of the Individual Portfolios do not offer Class B Units;           the notification to the Program of the death of an Account Owner until the
  therefore, you will have to choose a different class if you hold Class B Units     Program receives required documentation in good order and reasonably
  and want to reallocate assets into a Portfolio without Class B Units. In that      believes that it is lawful to transfer Account ownership to the successor
  instance you will be charged any applicable CDSC when you move your                Account Owner;(3) redeem an Account, without the Account Owner's
  assets out of the Class B Units and into another class. In addition, while the     permission, in cases of threatening conduct or suspicious, fraudulent or illegal
  CDSC is being waived on Class C Units of the JPMorgan 529 U.S.                     activity; (4) prohibit subsequent contributions in an Account if the Account
  Government Money Market Portfolio purchased beginning on August 25, 2014,          Owner no longer has a financial advisory firm; and (5) reject a contribution for
  a new holding period will begin at the time you make an Investment Exchange        any reason, including contributions for the Advisor-Guided Plan that JPMDS,
  from the Class C Units of the JPMorgan 529 U.S. Government Money Market            the Program Manager or the Program Administrators believe are not in the
  Portfolio into Class C Units of another Portfolio. If you make an Investment       best interests of the Advisor-Guided Plan, a Portfolio or the Account Owners.
  Exchange from Class C Units of another Portfolio into Class C Units of the         The risk of market loss, tax implications, penalties, and any other expenses as
  JPMorgan 529 U.S. Government Money Market Portfolio during this period, no         a result of such an Account freeze or redemption will be solely the Account
  CDSC will be charged at the time of the Investment Exchange, but if you make       Owner's responsibility.

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   Using Your Account                                                                   Eligible Educational Institution. An Eligible Educational Institution does not
                                                                                        include an elementary or secondary school. See "Withdrawals for K-12
  Withdrawals
                                                                                        Tuition Expense" below to learn about using your Account to pay expenses
   You may withdraw money from your Account at any time. Withdrawals can be             for tuition in connection with enrollment or attendance at an elementary or
   made only by the Account Owner (or his or her legally authorized                     secondary public, private, or religious school.
   representative), not by the Beneficiary. You can request a withdrawal online,
   by phone or by submitting the appropriate form and providing such other              Proceeds used to repay student loans cannot be treated as Qualified Higher
   information or documentation (for which a signature guarantee may be                 Education Expenses.
   needed) as we may require. The Form is available at                                  Under current law, the earnings portion of a New York Qualified Withdrawal is
   www,ny529adVisor.com or by calling the Advisor-Guided Plan. If the request           not subject to New York State taxes and the earnings portion is not subject to
   is in good order, we typically process the withdrawal and initiate payment of a      federal income taxation.
   distribution within three (3) business days after the trade date.(The trade date
   is determined in accordance with the policies described in "Section 2. Your          Federal Qualified Withdrawals
   Investment Options—Pricing of Portfolio Units and Trade Date Policies.")
   During periods of market volatility and at year-end, withdrawal requests may         To be considered a Federal Qualified Withdrawal, the proceeds must be used
  take up to five business days to process. Contributions made by check,                for either the Qualified Higher Education Expenses of your Beneficiary at an
                                                                                        Eligible Educational Institution or for K-12 Tuition Expense.
  Recurring Contribution or EBT will not be available for withdrawal for seven
  (7) business days. Withdrawals will be held for nine (9) business days following      Under current law, the earnings portion of a Federal Qualified Withdrawal used
  the change of mailing address if the Account Owner requests that the                  to pay the Qualified Higher Education Expenses of the Beneficiary at an
   proceeds are to be sent by check to the new address. The 9-day hold does not         Eligible Educational Institution is not subject to New York State taxes and the
  apply to checks sent directly to the Eligible Educational Institution. Withdrawals    earnings portion is not subject to federal income taxation. However, if the
  by EBT will not be available for fifteen (15) calendar days after bank                Federal Qualified Withdrawal is used to pay K-12 Tuition Expenses and you
  information has been added or edited.                                                 are a New York State taxpayer, the distribution is not considered a New York
  A New York Qualified Withdrawal can be paid by check to the Account Owner             Qualified Withdrawal and will require the recapture of any New York State tax
  or Beneficiary, via ACH to the Account Owner or by check directly to an               benefits that have accrued on contributions.
  Eligible Educational Institution. We will pay the proceeds of a Federal or New
  York Non-Qualified Withdrawal, a withdrawal to pay K-12 Tuition Expenses,             New York Non-Qualified Withdrawals
  and of withdrawals due to the death or Disability of, or receipt of a Qualified       In general, a New York Non-Qualified Withdrawal is any withdrawal other than:
  Scholarship or attendance at a Military Academy by a Beneficiary only by
                                                                                          (i) a New York Qualified Withdrawal;
  check or EBT payable to the Account Owner.
                                                                                         (ii) a withdrawal due to the death or Disability of the Beneficiary or receipt of
  Please allow 7-10 days for your distributions to reach you, the Beneficiary, or
  the higher Eligible Educational Institution, as applicable. This could take up to           a Qualified Scholarship or attendance at a Military Academy by the
  ten (10) business days from the date your withdrawal is processed.                          Beneficiary (to the extent the amount withdrawn does not exceed the
                                                                                              amount of the scholarship or the cost of attendance);
  In keeping with HESC's mission to help students pay for college, you may also
  request that HESC transfer your New York Qualified Withdrawal to your                  (iii) a Rollover into a Non-New York 529 Plan in accordance with
  Beneficiary's Eligible Educational Institution. If you request that HESC transfer            Section 529; or
  the withdrawal, we will transfer funds to HESC, and HESC, in turn, will transfer       (iv) a transfer of assets in accordance with Section 529 to an Account for
  the withdrawal to the applicable Eligible Educational Institution. Please allow             another Beneficiary who is a Member of the Family of the prior
  two to three weeks for this process.                                                        Beneficiary (but see "Transfer within New York Program for Another
  When making a withdrawal from an Account whose assets are invested in                       Beneficiary" for potential New York State tax consequences).
  more than one Portfolio, you must select the Portfolio(s) from which your funds       The earnings portion of a New York Non-Qualified Withdrawal is treated as
  are to be withdrawn. If you do not designate a particular Investment Option or        income to the recipient and thus subject to applicable federal and State income
  Options, the withdrawal will be taken proportionately from each of your existing      taxes including the Federal Penalty. For New York taxpayers, the earnings and
  Investment Options.                                                                   the portion of the distribution attributable to contributions for which a New York
  Although we will report the earnings portion of all withdrawals as required by        State tax deduction was previously taken will be subject to New York personal
  applicable federal and state tax law, it is solely the responsibility of the person   income tax.
  receiving the withdrawal to calculate and report any resulting tax liability.
                                                                                        Federal Non-Qualified Withdrawals
  Contingent Deferred Sales Charge                                                      In general; a Federal Non-Qualified Withdrawal is any withdrawal other than:
  Three classes of Portfolio Units are currently offered and one additional class         (i) a Federal Qualified WithdraWal;
   is currently held in certain Accounts. If you have selected Class A (in certain
   limited circumstances), Class B, or Class C Units and make a withdrawal                (ii) a withdrawal due to the death or Disability of the Beneficiary or receipt of
  (including a Federal or New York Qualified Withdrawal) or an Investment                      a Qualified Scholarship or attendance at.a Military Academy by the
  Exchange to Portfolio Units in another Class within a certain period of time,                Beneficiary (to the extent the amount withdrawn does not exceed the
   you may pay a contingent deferred sales charge. For more information on                     amount of the scholarship or the cost of attendance);
  sales charges, please refer to "Section: 4: Your Investment Costs: Sales               (iii) a Rollover into a Non-New York 529 Plan in accordance with
  Charges".                                                                                    Section 529; or
  Types of Withdrawals                                                                   (iv) a transfer of assets in accordance with Section 529 to an Account for
                                                                                              another Beneficiary who is a Member of the Family of the prior
  New York Qualified Withdrawals
                                                                                              Beneficiary (but see "Transfer within New York Program for Another
  To be considered a New York Qualified Withdrawal, the proceeds must be                      Beneficiary" for potential New York State tax consequences).
  used for the Qualified Higher Education Expenses of your Beneficiary at an

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  The earnings portion of a Federal Non-Qualified Withdrawal is treated as                 4. Attendance at a Military Academy, If the Beneficiary attends the United
  income to the recipient and thus subject to applicable federal and state income             States Military Academy, the United States Naval Academy, the United
  taxes including the Federal Penalty. For New York taxpayers, the earnings and              States Air Force Academy, the United States Coast Guard Academy, or
  the portion of the distribution attributable to contributions for which a New York          the United States Merchant Marine Acadeniy (U.S. Military Academy),
  State tax deduction was previously taken will be subject to New York personal               you may select a new Beneficiary, withdraw from the Account up to the
  income tax,      ;                                                                         costs of advanced education at the U.S. Military Academy, or authorize
                                                                                             all or a portion of the amount to be withdrawn and paid to the Beneficiary
  Withdrawals for K-12 Tuition Expenses                                                      without imposition of the Federal Penalty, but earnings will be subject to
  Under Federal law, effective January 1, 2018, you may withdraw funds from                  any applicable federal income tax at the recipient's tax rate. If you select
  your Account to pay K-12 Tuition Expenses. For federal tax•purposes, a                     a new Beneficiary who is 'e Member of the Family of the former
  distribution to pay K-12 Tuition Expenses up to $10,000 annually is considered             Beneficiary (see "Substituting Beneficiaries") you will not owe federal
  a Federal Qualified Withdrawal and is, therefore, free from federal taxes and              or New York State income tax. The entire amount of a withdrawal on
  penalties.                                                                                 account of attendance at a U.S. Military Academy is includable in
                                                                                             computing the New York taxable income of the Account Owner (other
  However, if you are a New York State taxpayer, the distribution is not
                                                                                             than the portion of any withdrawal that was not previously deductible for
  considered a NeW York Qualified Withdrawal and will require the recapture of
                                                                                             New York personal income tax purposes).
  any New York State tax benefits that have accrued on contributions. See
  "Section 7. Federal and State Tax Advantages" for additional information,
                                                                                        Transfers between Direct Plan and Advisor-Guided Plan
  Certain Other Withdrawals that are Exempt from the Federal                            Accounts
  Penalty                                                                               A direct transfer of assets between Program accounts for the same Beneficiary
     1. Death of the Beneficiary. If the Beneficiary dies, you may select a new         is considered an Investment Exchange (and not a Federal or New York Non-
        Beneficiary, withdraw all, or a portion of the Account balance, or              Qualified Withdrawal) for federal and state tax purposes, subject to the twice-
        authorize all or a portion of the Account balance to be withdrawn and           per-calendar year limitation on Investment Exchanges.(See "Transfer within
                                                                                        New York Program for Same Beneficiary.")
        paid to the estate of the Beneficiary. Withdrawals that are paid to the
       estate of the Beneficiary will not be subject to the Federal Penalty, but
                                                                                       Transfer to Another Account within New York Program
       earnings will be subject to any applicable federal income tax at the
        recipient's (the person receiving the withdrawal) tax rate, If you select a    If you transfer assets within the Program from an Account to an Account for
        new Beneficiary who is a Member of the Family of the former Beneficiary        the benefit of another Beneficiary, and if the new Beneficiary is a Member of
      (see "Substituting Beneficiaries"), you will not owe federal or New              the Family of the prior Beneficiary, then the transfer will be treated as a
       York State income tax. No withdrawals due to the death of a Beneficiary         nontaxable Rollover of assets for federal and New York income tax purposes.
       are includable in computing the New York taxable income of either the           Such a transfer will be permitted only to the extent that the aggregate balance
       Account Owner or the Beneficiary.                                               of all Accounts for the benefit of the new Beneficiary, including such transfer,
                                                                                       would not exceed the Maximum Account Balance.
     2. Disability of the Beneficiary. If the Beneficiary becomes unable to
       engage,in any substantial gainful activity by reason of a medically              Rollovers to .a Non-New York 529 Plan
        determinable physical or mental impediment that can be expected to
        result in .death or to be of long-continued or indefinite duration (a          You may roll over all or part of the balance of your Program Account to a Non-
        Disability), you may select a new Beneficiary, withdraw all or a portion of     New York 529 Plan without incurring any federal income taxes or penalty if:
       the Account balance, or authorize all or a portion of the Account balance       (i) the rolloVer is to an account for the same Beneficiary (provided that the
       to be withdrawn and paid to the Beneficiary. Any such withdrawal will not        rollover does not meth* within 12 months from the date of a previous transfer to
        be subject to the Federal Penalty, but earnings will be subject to any         any Qualified Tuition Program for the benefit of the Beneficiary) or to an
       applicable federal income tax at the recipient's tax rate. If you select a      account for a Member of the Family of that Beneficiary; and (ii) the rollover is
        new Beneficiary who is a Member of the Family of the former Beneficiary        completed within 60 days of withdrawal. For New York state taxpayers, the
       (see"Substituting Beneficiaries"), you will not owe federal or New              rollover, however, would be subject to New York State taxes on earnings,
        York State income tax, or the Federal Penalty. No withdrawals due to           as well as the recapture of previous New York tax deductions taken for
        Disability of the Beneficiary are includable in computing the New York         contributions to the Account.
       taxable income of either the Account Owner or the Beneficiary.
                                                                                       Room and Board Expenses
     3. Receipt of a Qualified Scholarship. If the Beneficiary receives a
                                                                                       Room and board expenses may he treated as Qualified Higher Education
        Qualified Scholarship, you may select a new Beneficiary, withdraw from
                                                                                       Expenses only if the Beneficiary is enrolled at least half-time. Half-time is
        the Account up to the amount of the Qualified Scholarship, or authorize
                                                                                       defined as half of a full-time academic workload for the course of study the
        all or a portion of the amount to be withdrawn and paid to the Beneficiary
                                                                                       Beneficiary pursues, based on the standard at the institution where he or she
        without imposition of the Federal Penalty, but earnings will be subject to
                                                                                       is enrolled, as long as the standard is no less than the federal Department of
        any applicable federal income tax at the recipient's tax rate. If you select
                                                                                       Education student financial aid requirement. A Beneficiary need not be
        a new Beneficiary who is a Member of the Family of the former
                                                                                       enrolled at least half-time to use a New York Qualified Withdrawal to pay for
        Beneficiary (see "Substituting Beneficiaries"), you will not owe federal
                                                                                       Qualified Higher Education Expenses for tuition, fees, books, supplies,
       or New York State income tax. A "Qualified Scholarship" includeS certain
                                                                                       equipment, eligible computer-related expenses, and special-needs services.
       educational assistance allowances under federal law, as well as certain
        payments for educational expenses that are exempt from federal income          Room and board expenses that may be treated as Qualified Higher Education
       tax, or the Federal Penalty. You should consult a qualified educational or      Expenses generally will be limited to the room and board allowance calculated
       tax advisor to determine whether a particular payment or benefit                by the Eligible Educational Institution in its "cost of attendance" for purposes of
       constitutes a Qualified Scholarship. The entire amount of a withdrawal on       determining eligibility for federal education assistance for that year. For
       account of a Qualified Scholarship is includable in computing the New           students living in housing owned or operated by the Eligible Educational
       York taxable income of the Account Owner (other than the portion of any         I nstitution, if the actual amount charged for room and board is higher than the
       such withdrawal that was not previously deductible for New York                 cost of attendance figure, then the actual amount may be treated as Qualified
        personal income tax purposes). •                                               Higher Education Expenses.

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  Unused Account Assets
  If assets remain in an Account after the Beneficiary has determined not to
  complete or has completed his or her education, you as the Account Owner
  may exercise one or more of the following:
     1. You can keep all or a portion of the remaining assets in the Account to
        pay future Qualified Higher Education Expenses, such as graduate or
        professional school expenses of the existing Beneficiary.
     2. You can change the Beneficiary to a Member of the Family.
     3. You can withdraw all or a portion of the remaining assets. .
  The first two options will not result in federal and New York State income tax
  liability, unless the distribution is used to pay K-12 Tuition Expenses. In that
  case, for New York taxpayers, the earnings and the portion of the distribution
  attributable to contributions for which a New York State tax deduction was
  previously taken will be subject to New York personal income tax and the
  withdrawal requires the recapture of any New York State tax benefits that have
  accrued on contributions.
  The third option is a Federal and New York Non-Qualified Withdrawal subject
  to applicable New York State and federal income tax, including the Federal
  Penalty. You should consult with a qualified tax advisor. See "Section 5.
  Important Tax Information."
  Under certain circumstances, if, for a period of at least three years after your
  Beneficiary attains the age of 18 years, there has been no activity in your
  Account and attempts to reach you at the contact address provided are
  unsuccessful, your Account may be considered abandoned. Abandoned
  Accounts may be liquidated and reported to the New York State Comptroller's
  Office of Unclaimed Funds.

  Records Retention
  Under current federal and New York State tax law, you and the Beneficiary are
  responsible for obtaining and retaining records, invoices, or other documents
  and information that are adequate to substantiate: (i) particular expenses
  which you claim to be Qualified Higher Education Expenses or K-12 Tuition
  Expenses; (ii) the death or Disability of a Beneficiary, or the receipt by a
  Beneficiary of a Qualified Scholarship; (iii) the earnings component of and
 compliance with the timing requirements applicable to Qualified Rollovers;
 (iv) the earnings component of contributions funded from Qualified Savings
  Bonds or education savings accounts; and (iii) Refunded Contributions. We
  have no responsibility to provide, or to assist you in obtaining, the
 documentation.

  ABLE Rollover Distribution
  You may rollover all or part of the balance of your Advisor-Guided Plan
  Account to a Qualified ABLE Program account within 60 days of withdrawal
  without incurring any federal income tax or the Federal Penalty if:
     1. The rollover is to an account for the same Beneficiary; or
     2. The rollover is for a new beneficiary who is a Member of the Family of the
        prior Beneficiary.
  Any distribution must be made before January 1, 2026 and cannot exceed the
  annual contribution limit prescribed by Section 529A (b)(2)(B)(i) of the Code. In
  addition, this type of distribution may be subject to state taxes and/or penalties.
  For a discussion of the New York State tax impact on an ABLE Rollover
  Distribution, see Section 5.—Important Tax Information.




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